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                             No. 23-15285


In The United States Court of Appeals for the Ninth Circuit

         IN RE: GOOGLE PLAY STORE ANTITRUST LITIGATION


            MARY CARR, INDIVIDUALLY AND ON BEHALF OF
              ALL OTHERS SIMILARLY SITUATED, ET AL.,
                                 Plaintiffs-Appellees,
                                    v.
                          GOOGLE LLC, ET AL.,
                                   Defendants-Appellants.


  On Interlocutory Appeal from the United States District Court
              for the Northern District of California
                 No. 21-md-2981; No. 20-cv-5761
                     Honorable James Donato


BRIEF FOR AMERICAN ECONOMIC LIBERTIES PROJECT AS
 AMICUS CURIAE SUPPORTING PLAINTIFFS-APPELLEES

                            Katherine Van Dyck
                            Lee A. Hepner
                            AMERICAN ECONOMIC LIBERTIES PROJECT
                            2001 Pennsylvania Avenue NW, Suite 540
                            Washington, DC 20006
                            (202) 904-8101
                            kvandyck@economicliberties.us

                            Counsel for Amicus Curiae
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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1, amicus

American Economic Liberties Project is a nonprofit, non-stock

corporation. It has no parent corporations, and no publicly traded

corporations have an ownership interest in it.



Dated: August 7, 2023               s/ Katherine Van Dyck
                                    Katherine Van Dyck
                                    Lee A. Hepner
                                    American Economic Liberties Project
                                    2001 Pennsylvania Avenue NW
                                    Suite 540
                                    Washington, DC 20006
                                    (202) 904-8101
                                    kvandyck@economicliberties.us

                                    Counsel for Amicus Curiae




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                     CITATION ABBREVIATIONS

     This Brief uses the following abbreviations when referring to filings

in the instant appeal:

                      Brief of Amici Curiae Computer & Communications
                      Industry Association and International Association
CCAI Br.
                      of Defense Counsel in Support of Defendants-
                      Appellants Seeking Reversal

                      Brief of Amici Curiae the Chamber of Commerce of
                      the United States of America, the American Tort
Chamber Br.           Reform Association, Business Roundtable and the
                      Pharmaceutical Research and Manufacturers of
                      America in Support of Defendants-Appellants

Def. Br.              Brief for Defendants-Appellants

Plf. Br.              Brief for Plaintiffs-Appellees




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                         INTEREST OF AMICUS

     American Economic Liberties Project (“AELP”) is an independent

nonprofit    research     and     advocacy      organization      dedicated   to

understanding and addressing the problem of concentrated economic

power in the United States.1 AELP organizes and employs a diverse set

of leading policy experts in a wide range of areas impacted by

concentrated power that include the healthcare industry, private equity,

airlines, and the digital marketplace. It advocates for policies that

address today’s crisis of concentration through legislative efforts and

public policy debates. AELP submits this amicus brief because our

antitrust laws cannot protect competition if a monopolist can insulate

itself from liability by arguing that its market power has become so vast

that the individualized damages flowing from its unlawful conduct

preclude class certification.

     Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), no

party’s counsel authored this brief in whole or part. In addition, no party

or party’s counsel, and no person other than the amicus curiae, its




1 https://www.economicliberties.us/.



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supporters, or its counsel, contributed money that was intended to fund

preparing or submitting the brief. Counsel for all parties consented to the

filing of this brief.

                        SUMMARY OF ARGUMENT

      Google is a monopolist. Its tentacles have spread through our lives

to control every aspect of how we access digital information and products.

It controls search engines, digital advertising, and for this Court’s

purposes, the distribution of Android mobile device applications (or

“apps”) to tens of millions of consumers and those consumers’ ancillary

in-app purchases. Google acquired and maintained its monopoly power

in the Android App Distribution Market and In-App Aftermarket (the

“Relevant Markets”) through a wide range of anticompetitive acts and

illegal restraints on competition. And it has used its monopoly power to

impose supra-competitive commissions on developers in the Relevant

Markets, which are in turn passed on to consumers in the form of supra-

competitive prices for apps and in-app purchases.

      The district court held a lengthy hearing, heard extensive expert

testimony, and reviewed a massive record of documents and argument

from both sides about Google’s anticompetitive behavior. After a rigorous


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analysis, it properly determined that (1) the damages model built by

Plaintiffs’ expert, Dr. Hal Singer, is reliable, relevant, and capable of

proving antitrust injury and damages for the putative class; and (2) that

any individualized damages issues that might exist do not predominate

over the enormous common issue of Google’s liability under the Sherman

Act and California’s Cartwright Act and Unfair Competition Law. It then

certified a Rule 23(b)(3) class of consumers who paid for Android apps

through the Google Play Store or for in-app digital content through

Google Play Billing, from August 2016 to the present (the “Consumer

Class”). (1-ER-20, 29.)

     Google asks this Court to overturn the class certification order. But

in doing so, Google is attempting to wield the very monopoly power that

gives rise to Plaintiffs’ claims as a shield against liability. Google claims

that the problem it created cannot be resolved through a class action

because the injuries resulting from its anticompetitive conduct, which

Google concedes for class certification was uniform in planning and




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implementation,2 are too “complex and individualized” to be certified.

(Def. Br. 59.) According to Google, because its uniform conduct impacted

such a wide swath of apps and consumers, determining antitrust injury

and calculating the individualized damages that                   resulted will

predominate over the glaring common issue of whether Google willfully

acquired and maintained monopoly power in the Relevant Markets.3

Accepting this argument and allowing Google to weaponize its size to

effectively avoid liability would subvert the most fundamental goals of

the Sherman Act and Rule 23 and should be rejected.



2 Google “does not disagree that common evidence is available to prove

Google’s alleged antitrust violations in the relevant markets.” (1-ER-17)
(emphasis added). Google also does not challenge the district court’s
typicality on appeal. Nor could it. “The overarching scheme [to
monopolize and restrain trade in the relevant markets] is the linchpin
of plaintiffs’... complaint, regardless of the [app] purchased, the market
involved or the price ultimately paid. Furthermore, the various [apps]
purchased and the different amount of damage sustained by individual
plaintiffs do not negate a finding of typicality, provided the cause of
those injuries arises from a common wrong.” In re TFT-LCD (Flat
Panel) Antitrust Litig., 267 F.R.D. 583, 593–94 (N.D. Cal. 2010),
amended in part, No. M 07-1827 SI, 2011 WL 3268649 (N.D. Cal. July
28, 2011).
3 “To establish liability under § 2, a plaintiff must show: (a) the

possession of monopoly power in the relevant market; (b) the willful
acquisition or maintenance of that power; and (c) causal antitrust
injury.” FTC v. Qualcomm Inc., 969 F.3d 974, 990 (9th Cir. 2020)
(cleaned up).

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     The Sherman Act, 15 U.S.C. § 1, et seq., and Rule 23 of the Federal

Rules of Civil Procedure are both aimed squarely at combatting the type

of outsized corporate power that Google has amassed, to level the playing

field and deter unlawful conduct that individuals like those in the

Consumer Class are normally powerless to stop. If Google has its way, it

avoids accountability to the Consumer Class solely because intermediary

app developers passed on varying amounts of the supra-competitive

commissions that Google collected. But Google “is not entitled to

complain that [damages] cannot be measured with the exactness and

precision that would be possible if the case, which [it] alone is responsible

for making, were otherwise.” Story Parchment Co. v. Paterson Parchment

Paper Co., 282 U.S. 555, 563 (1931). Nor does the size of the damages

calculations give cause for complaint. The drafters of our antitrust laws

allowed for treble damages, and Rule 23 allows consumers to aggregate

their claims precisely because concentrated economic power is so

dangerous and difficult to contest. Any claim that large damages pose a

danger to our judicial system is fiction.

     The order certifying the Consumer Class is a proper exercise of the

district court’s discretion and recognizes the importance of preserving


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issues such as credibility and correctness of witness testimony for the

trier of fact. Adopting Google’s position would wrest those issues from the

jury, violating the Consumer Class’s constitutional rights guaranteed by

the Seventh Amendment. For these reasons, explained more fully below,

the district court’s ruling should be affirmed.

                                ARGUMENT

I.   THE POLICIES BEHIND THE SHERMAN ACT AND RULE
     23 DEMAND CLASS CERTIFICATION

     A.    The Sherman Act and Rule 23 Were Designed to
           Combat Corporate Power

     The Sherman Act and Rule 23 are both designed to combat outsized

corporate power. The former is “a comprehensive charter of economic

liberty aimed at preserving free and unfettered competition as the rule

of trade.” N. Pac. Ry. Co. v. United States, 356 U.S. 1, 4 (1958). It “‘w[as]

enacted to prevent not the mere injury to an individual which would arise

from the doing of the prohibited acts, but the harm to the general public

….’” Paramount Famous Lasky Corp. v. United States, 282 U.S. 30, 42

(1930) (emphasis added) (citation omitted). “‘The fundamental purpose of

the Sherman Act was to secure equality of opportunity and to protect the

public against evils commonly incident to destruction of competition

through monopolies and combinations in restraint of trade.’” Id.
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     Just as the Sherman Act was designed to protect against injury to

the general public, Rule 23 is aimed at the “vindication of ‘the rights of

groups of people who individually would be without effective strength to

bring their opponents into court at all.’” Briseno v. ConAgra Foods, Inc.,

844 F.3d 1121, 1129 (9th Cir. 2017). The policy at the very core of the

class action mechanism is “to overcome the problem that small recoveries

do not provide the incentive for any individual to bring a solo action

prosecuting his or her rights.” Amchem Prod., Inc. v. Windsor, 521 U.S.

591, 617 (1997). While large classes inevitably invoke concerns of

disparate injury and damages, as the Honorable Richard Posner opined

regarding the practical intent of Rule 23:

     “A class action has to be unwieldy indeed before it can be
     pronounced an inferior alternative—no matter how massive
     the fraud or other wrongdoing that will go unpunished if class
     treatment is denied—to no litigation at all.”

Carnegie v. Household Int’l, Inc., 376 F.3d 656, 661 (7th Cir. 2004). And

unlike other types of mass injury involving questions of liability affecting

individuals in different ways, “predominance is a test readily met in

certain cases alleging … violations of the antitrust laws.” Amchem

Prods., 521 U.S. at 625 (emphasis added). It is no surprise, then, that

private enforcement of the Sherman Act and Rule 23 frequently work in

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tandem to hold powerful corporations accountable for the inherently

broad and diffused harms of antitrust violations.

     The Sherman Act and Rule 23 are perfectly attuned to address

Google’s unlawful monopoly power, its anticompetitive conduct, and the

resulting injury to the Consumer Class. Google is one of the largest

companies in the world and in history, valued at over $1.5 trillion.4

According to Plaintiffs, “[i]n 2020 alone, the Google Play Store generated

revenues of $38 billion, accounting for over 20 percent of the company’s

total revenue in that year of $182 billion.” (1-ER-4) (quoting SAC ¶86).

But Google did not gain its power in the Relevant Markets organically,

by offering lower prices or superior products. Rather, it was acquired by

brute force, through a combination of kickbacks to wireless carriers,

technical barriers and misleading warnings, and by pressuring would-be

competitors not to create their own app distribution systems. Ultimately,

Google “illegally created and maintained a stranglehold over the

distribution of apps and in-app content on Android mobile devices, with




4 Patrick McGee, Alphabet’s digital advertising and cloud revenue rises,

FINANCIAL TIMES (July 25, 2023), available at
https://www.ft.com/content/7617c221-ada8-467a-a443-39968c623d86.

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a market share exceeding 90 percent.” (Plf. Br. 10) (citing 1-SER-466-67).

And with that power, Google controls how over 21 million members of the

Consumer Class access apps and purchase in-app content on their

Android devices.

     Now, Plaintiffs’ expert, who has used his expertise in the

econometrics field to build a model that estimates overcharges, has

calculated class-wide damages at around $18.76 million for app

downloads and an additional $4.71 billion for in-app purchases. (2-ER-

300; 3-ER-319; 1-ER-20). Yet because each individual class member’s

damages are so small, sometimes less than a dollar, (3-ER-351), it would

be impossible for any of them to proceed individually against Google in

court. This is precisely why Rule 23 allows for aggregation of claims, and

it is the type of market power—some of the biggest the world has ever

seen—that the Sherman Act is meant to confront.

     Nonetheless, Google argues that its market power is too broad to be

addressed in a single proceeding. Never mind that Google concedes its

anticompetitive conduct was uniform. (1-ER-17.) Never mind that it

extracted supra-competitive commissions from nearly every purchase in

the Google Play Store. (1-ER-11.) And never mind that Dr. Singer


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performed multiple tests using real world data to confirm the accuracy of

his pricing model as to individual apps. (1-ER-23.) In the face of evidence

that Google engaged in uniform anticompetitive behavior that led to

uniform overcharges being levied on nearly every app developer in the

Android ecosystem, Google argues that consumers cannot proceed as a

class because Google harmed too many people in too varying degrees. But

adopting Google’s position leaves consumers without any meaningful

alternative remedy. And this Circuit and others have rejected these

arguments again and again.5 As Olean instructed in an en banc decision

just last year,


5 See Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31

F.4th 651, 668–69 (9th Cir. 2022), cert. denied sub nom. StarKist Co. v.
Olean Wholesale Grocery Coop., Inc., 143 S. Ct. 424 (2022) (“we have
held that a district court is not precluded from certifying a class even if
plaintiffs may have to prove individualized damages at trial”); In re
Urethane, 768 F.3d 1245, 1255 (10th Cir. 2014) (“The presence of
individualized damages issues” does not preclude a court from certifying
a class because “[c]lass-wide proof is not required for all issues.”); In re
Mercedes-Benz Antitrust Litig., 213 F.R.D. 180, 187 (D.N.J. 2003)
(“Antitrust defendants resisting class certification routinely argue that
the complexity of their particular industry make it impossible for
common proofs to predominate on the issue of antitrust impact …. [T]he
argument is ‘usually rejected where the conspiracy issue is the
overriding one.’”) (citation omitted); In re Vitamins Antitrust Litig., 209
F.R.D. 251, 266 (D.D.C. 2002) (“[C]ourts have found common impact in



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     the district court determined that … [the] model was capable
     of showing that the [] class members suffered antitrust impact
     on a class-wide basis, notwithstanding [the defense expert]’s
     critique. This was all that was necessary at the certification
     stage. The [] class did not have to “first establish that it will
     win the fray” in order to gain certification under Rule 23(b)(3).

Olean, 31 F.4th at 681. In other words, Dr. Singer has constructed a model

that is capable of determining antitrust impact and damages both at a

class-wide level and at a more granular class member-by-class member

level. That is all that Rule 23 requires. Allowing a different result for the

largest monopolist in history “would provide a roadmap for monopolistic

retailers to structure transactions with manufacturers or suppliers so as

to evade antitrust claims by consumers and thereby thwart effective

antitrust enforcement.” Apple Inc. v. Pepper, 139 S. Ct. 1514, 1516 (2019).

The entire purpose of the Sherman Act and Rule 23 would be

undermined.




cases alleging price-fixing despite individual negotiations, varied
purchase methods and different amounts, prices, and types of products
purchased ….”); In re Fine Paper Antitrust Litig., 82 F.R.D. 143, 151–52
(E.D. Pa. 1979) (noting that diversity of product, marketing practices,
and pricing have not been fatal to class certification in numerous cases
where conspiracy is “the overriding predominant question”) (citation
omitted); (Pet. Br. 70–71) (collecting cases).

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     B.    The Wrongdoer Bears the Risk of Uncertainty

     The Sherman Act and Rule 23 also impose less stringent

requirements on proof of damages. The former because “the risk of the

uncertainty should be thrown upon the wrongdoer instead of upon the

injured party.” Story Parchment, 282 U.S. at 563. “[I]t would be a

perversion of fundamental principles of justice to deny all relief to the

injured person, and thereby relieve the wrongdoer from making any

amend for his acts.” Id.; see also Associated Gen. Contractors of Cal., Inc.

v. Cal. State Council of Carpenters, 459 U.S. 519, 552 (1983) (“Insofar as

the amount of damages is concerned, an antitrust plaintiff need only

provide a reasonable estimate of the damages stemming from an

antitrust violation”); Bigelow v. RKO Radio Pictures, 327 U.S. 251, 264

(1946) (“The constant tendency of the courts is to find some way in which

damages can be awarded where a wrong has been done. Difficulty of

ascertainment is no longer confused with right of recovery for a proven

invasion of the plaintiff's rights.”); Eastman Kodak Co. of New York v. S.

Photo Materials Co., 273 U.S. 359, 379 (1927) (“a defendant whose

wrongful conduct has rendered difficult the ascertainment of the precise

damages suffered by the plaintiff, is not entitled to complain that they


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cannot be measured with the same exactness and precision as would

otherwise be possible”); cf. Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442,

456 (2016) (“the remedial nature of [the FLSA] and the great public policy

which it embodies militate against making the burden of proving

uncompensated work an impossible hurdle for the employee”) (cleaned

up).

       Rule 23 similarly eschews a need for uniform damages calculations

and perfect class definitions. Olean, 31 F.4th at 668–69. “[A] district court

is not precluded from certifying a class even if plaintiffs may have to

prove individualized damages at trial.” Id. at 669. Nor does the need for

individualized damages calculations, or the presence of uninjured class

members, necessarily undermine the ability to prove common impact. Id.

at 670, 681-82 & n.32.

       As this Court stated when it rejected a strict administrative

feasibility requirement, ““ensuring perfect recovery at the expense of any

recovery would undermine the very purpose of Rule 23(b)(3).” Briseno,

844 F.3d at 1129; see also Bouaphakeo, 577 U.S. at 455 (“In many cases,

a representative sample is ‘the only practicable means to collect and

present relevant data’ establishing a defendant’s liability.”); Messner v.


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Northshore Univ. HealthSystem, 669 F.3d 802, 808 (7th Cir. 2012) (“it is

important not to let a quest for perfect evidence become the enemy of good

evidence”). And this Court has rightly rejected attempts to place a higher

burden of proof on antitrust plaintiffs’ claim for monetary damages. See

Olean, 31 F.4th at 664–65 (rejecting argument that damages should be

subject to “clear and convincing evidence” standard); Bigelow, 327 U.S.

at 264 (“juries are allowed to act on probable and inferential as well as

(upon) direct and positive proof”) (quotations and citations omitted). The

district court correctly acknowledged that “Rule 23 does not demand that

all of the world’s complexities be smoothed away.” (1-ER-22.) It merely

requires that “the questions of law or fact common to class members

predominate over any questions affecting only individual members.” Fed.

R. Civ. P. 23(b)(3).

      Google’s erroneous demand for precision, and its assertion that the

district court improperly put the burden on Google to demonstrate the

number of uninjured class members, (Def. Br. 17), would flip these

governing ideas on their heads. This Court is facing a monopolist that

controls over 90 percent of the Relevant Markets. (Plf. Br. 10) (citing 3-

ER-366-67). Throughout the Class Period, Google has applied a uniform


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commission structure affecting all apps and purchases of in-app content,

preventing competition that would drive the commission rate lower. (3-

ER-349.) An expert economist has determined that Google imposed a

supra-competitive “take rate” of 30.1 percent for paid apps (compared to

a competitive take rate of 23.4 percent) and a 29.2 percent take rate for

in-app content (compared to a competitive take rate of 14.8 percent),

resulting in a respective $18.7 million and $4.7 billion in national

overcharges.6 (3-ER-318-319, 351, 362.) This showing of antitrust impact

is all that is necessary at the class certification stage. Olean, 31 F.4th at

681.

       What Google seems to suggest is that “a putative class of 21 million

plaintiffs … would be utterly unworkable, cumbersome, and inefficient,”

(Def. Br. 60), but facing 21 million individual plaintiffs in small claims

courts would be preferrable, all because Plaintiffs’ damages model does

not achieve perfection. This is of course entirely impractical, given that

each individual plaintiff would still have to engage in the same costly



6 Google did not challenge Dr. Singer’s qualifications, which include a

Ph.D. in economics from Johns Hopkins University, numerous academic
publications, testimony before Congress, and involvement in antitrust
issues throughout his career. (1-ER-10.)

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economic analysis and rely on the same expert report to prove

overcharges. It is precisely why the Supreme Court has instructed that

class action plaintiffs do not have to prove their damages with precision.7

Bouaphakeo, 577 U.S. at 456–57.

         In Bouaphakeo, employees performed the same work, in the same

facility, under the same policy. Id. at 459. Tysons objected to certification

because each employee worked a different amount of hours, and they

were relying on representative evidence that calculated the average time

it cook for employees to perform the work that went uncompensated. Id.

at 450, 454. However, “[i]f the employees had proceeded with 3,344

individual lawsuits, each employee likely would have had to introduce

[the expert’s] study to prove the hours he or she worked,” all of which

varied. Id. at 456–57. So the Supreme Court instructed that, “under these

circumstances the experiences of a subset of employees c[ould] be

probative as to the experiences of all of them.” Id. at 459. And it made

clear:




7 Nonetheless, Dr. Singer has testified that his model uses the same

methodology regardless of the app category and can even be run “at an
app-by-app level.” (2-ER-125.)

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     In many cases, a representative sample is “the only
     practicable means to collect and present relevant data”
     establishing a defendant’s liability. In a case where
     representative evidence is relevant in proving a plaintiff's
     individual claim, that evidence cannot be deemed improper
     merely because the claim is brought on behalf of a class. To so
     hold would ignore the Rules Enabling Act’s pellucid
     instruction that use of the class device cannot “abridge ... any
     substantive right.”

Id. at 455 (citing Manual of Complex Litigation § 11.493, p. 102 (4th ed.

2004); 28 U.S.C. § 2072(b)).

     To the extent the Consumer Class encompasses some uninjured

consumers and consumers with varied damages, long-standing precedent

tells us that Google should, as the party who violated the Sherman Act

in unprecedented ways, bear that risk and not Google’s victims. See Story

Parchment, 282 U.S. at 565 (“Whatever of uncertainty there may be in

this mode of estimating damages, is an uncertainty caused by the

defendant’s own wrongful act; and justice and sound public policy alike

require that he should bear the risk of the uncertainty thus produced.”).

To hold otherwise and require a perfect class definition with a perfectly

precise damages model would violate “[t]he most elementary conceptions

of justice and public policy.” Bigelow, 327 U.S. at 265




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     C.    Congress Intended to Impose Large Penalties on
           Monopolists

     Finally, the Clayton Act and Rule 23 work together to give effect to

the goals of the Sherman Act. The former states that private plaintiffs

“shall recover threefold the damages by him sustained, and the cost of

suit, including a reasonable attorney’s fee.” 15 U.S.C. § 15(a) (emphasis

added). It recognizes the extraordinary harm monopolists like Google can

cause to plaintiffs and our markets and the difficulty in quantifying

them. Robert H. Lande, Are Antitrust “Treble” Damages Really Single

Damages?, 54 OHIO ST. L.J. 115, 123 (1993). And it is designed both to

compensate victims and to deter anticompetitive behavior. Id. The latter,

Rule 23, is not dependent on the amount of damages at issue and so

applies “even though it may expose defendants to the imposition of

aggregate liability.” Olean, 31 F.4th at 665 (citing Shady Grove

Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 408 (2010)). “If

the size of a defendant’s potential liability alone was a sufficient reason

to deny class certification, … the very purpose of Rule 23(b)(3)—‘to allow

integration of numerous small individual claims into a single powerful




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unit’—would be substantially undermined.”8 Bateman v. Am. Multi-

Cinema, Inc., 623 F.3d 708, 722 (9th Cir. 2010) (emphasis added) (citation

omitted).

     Amici supporting Google argue that, because the Relevant Markets

are so large and the anticompetitive effects of its monopolization of those

markets is so widespread, class certification goes against public policy.

(Chamber Br. 20–22; CCAI Br. 14–17.) They warn of dangers looming

over the head of monopolists in the form of meritless lawsuits extracting

outsized settlements from innocent defendants. (Chamber Br. 20–22;

CCAI Br. 14–17.) But the size of the class at issue is hardly novel,9 and



8So too would Rule 23’s goals of “efficiently resolv[ing] the claims of
many [and] eliminat[ing] inconsistent rulings” be compromised.
Withrow v. FCA US LLC, No. 19-13214, 2021 WL 2529847, at *7 (E.D.
Mich. June 21, 2021) (citing 7A Charles Wright, Arthur Miller, and
Mary Kane, Fed. Prac. and P. § 1754 (3d ed.)).
9 See, e.g., In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 939

n.4 (9th Cir. 2011) (class with over 100 million purchases); Hanlon v.
Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998) (“nationwide class
with millions of class members residing in fifty states”); In re
Qualcomm Antitrust Litig., 328 F.R.D. 280, 318 (N.D. Cal. 2018)
(settlement class of over 200 million); In re Pork Antitrust Litig., No. 18-
1776, ___ F. Supp. 3d ___, 2023 WL 26964975, at *14 (D. Minn. Mar. 29,
2023) (certifying a consumer class composed of “tens of millions of
individuals”); In re Delta/AirTran Baggage Fee Antitrust Litig., 317
F.R.D. 675, 693 (N.D. Ga. 2016) (class involved “tens of millions of first-
bag fee transactions”).

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the issue of expense is not limited to antitrust cases or even class action

litigation more generally. Package Closure Corp. v. Sealright Co., 141

F.2d 972, 978 (2d Cir. 1944).

     To impose peculiarly stiff requirements in treble damage suits
     will be to frustate the Congressional intent …. “Congress
     evidently foresaw the wholesome effect of pecuniary
     responsibility for injuries resulting from such forbidden
     combinations and the courts should not devitalize the remedy
     by strained interpretations calculated to encourage disregard
     of the law.”

Id. at 978. Thus, “[a]ll that is required of the victim of an antitrust

violation is evidence showing ‘the extent of the damages as a matter of

just and reasonable inference, although the result be only approximate.’”

Story Parchment, 282 U.S. at 563. As this Court stated in a case involving

statutory damages under FACTA, “the reason that damages can become

enormous … ‘does not lie in an “abuse” of Rule 23; it lies in the legislative

decision to authorize awards [similar to treble damages].’” Bateman, 623

F.3d at 722 (citation omitted).

     Declaring Google’s monopoly “too big to certify” would wholly

undermine these principles. Congress recognized the enormous harms

that flow from anticompetitive behavior, and it authorized treble

damages with the understanding that ordinary calculations would


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neither fully compensate the monopolists’ victims nor deter the behavior

in the first instance. See Mitsubishi Motors Corp. v. Soler Chrysler-

Plymouth, Inc., 473 U.S. 614, 635 (1985) (“The treble-damages provision

wielded by the private litigant is a chief tool in the antitrust enforcement

scheme, posing a crucial deterrent to potential violators.”). And in any

event, the dystopian picture amici paint is not just exaggerated—it is

nearly non-existent.

     Empirical studies have shown that antitrust class actions rarely

lead to the recovery of treble damages. Instead, recoveries are generally

for amounts well below the economic losses that plaintiffs’ experts

estimate. For example, one study analyzing antitrust cartel cases from

1990 to 2014 found that

     the victims of only 14 of the 71 cartels (20%) recovered their
     initial damages (or more) in settlement. Only seven (10%)
     received more than double damages. The rest—the victims in
     57 cases—received less than their initial damages. In four
     cases the victims received less than 1% of damages and in 12
     they received less than 10%. Overall the median average
     settlement was 37% of single damages.

John M. Connor & Robert H. Lande, Not Treble Damages: Cartel

Recoveries Are Mostly Less Than Single Damages, 100 IOWA L. REV. 1997,




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1998 (2014).10 In other words, despite Congress intending for the Clayton

Act to impose stiff penalties for antitrust violations, offenders rarely if

ever feel the full force of the law, and refusing to certify a class because

Congress deemed anticompetitive conduct worthy of treble damages is

simply not necessary or merited.11

II.   GOOGLE’S ARGUMENT WOULD IMPROPERLY WREST
      THIS CASE FROM THE JURY

      The thrust of Google’s appeal is that Plaintiffs’ expert is wrong and

their expert is right. “But the test under Daubert is not the correctness

of the expert’s conclusions but the soundness of his methodology.”

Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1318 (9th Cir. 1995).

It raises, as the district court correctly noted, a factual issue that falls

exclusively within the province of the jury. (1-ER-38); see Elosu v.




10 Though this study looked at recoveries in cartel cases, it was noted

that “[i]t is much easier to show that a discovered cartel has violated
the antitrust laws than a discovered monopoly, so an extremely high
multiplier might be appropriate for these cases as well.” Connor &
Lande, 100 Iowa L. Rev. at 2018.
11 Or as Professors Connor and Lande concluded, “Because awarded

damages are not as a practical matter even close to true treble
damages, judges should [] refrain from being ungenerous to victims
when they decide standing issues or compute the amounts of damages
to award.” Connor & Lande, 100 Iowa L. Rev. at 2020–21.

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Middlefork Ranch Inc., 26 F.4th 1017, 1024 (9th Cir. 2022) (“‘[t]he district

court is not tasked with deciding whether the expert is right or wrong,

just whether his testimony has substance such that it would be helpful

to a jury’”) (citation omitted) (alteration in original). To invade the jury’s

territory on the factually specific questions raised by Google, for 21

million consumers, would run afoul of one of the most basic principles of

our judicial system and the Seventh Amendment to the United States

Constitution.

      The Seventh Amendment demands that, “[i]n suits at common law,

where the value in controversy exceeds twenty dollars, the right of trial

by jury shall be preserved.” U.S. CONST. amend. VII. The Supreme Court

has extolled its virtues and given the amendment an expansive reading.

See, e.g., Dimick v. Schiedt, 293 U.S. 474,486 (1935) (“Maintenance of the

jury as a factfinding body is of such importance and occupies so firm a

place in our history and jurisprudence that any seeming curtailment of

the right to a jury trial should be scrutinized with the utmost care.”);

Jacob v. City of New York, 315 U.S. 752, 752–53 (1942) (“The right of jury

trial in civil cases at common law is a basic and fundamental feature of

our system of federal jurisprudence which is protected by the Seventh


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Amendment. A right so fundamental and sacred to the citizen, whether

guaranteed by the Constitution or provided by statute, should be

jealously guarded by the courts.”).

     Unquestionably, this “right to trial by jury applies to treble damage

suits under the antitrust laws, and is, in fact, an essential part of the

congressional plan for making competition rather than monopoly the rule

of trade.” Beacon Theatres v. Westover, 359 U.S. 500, 504 (1959)

(emphasis added). And when the factual disputes, including the

credibility of an expert, are taken away from the jury, the class members’

right to a jury trial is compromised. See Olean, 31 F.4th at 681

(“Reasonable minds may differ as to whether the [overcharge] calculated

is probative as to all purchasers in the class, but that is a question of

persuasiveness for the jury”) (cleaned up); In re Paoli R.R. Yard PCB

Litig., 35 F.3d 717, 750 & n.20 (3d Cir. 1994) (recognizing that the

Federal Rules of Evidence “favor admissibility” and refusing to set the

bar for expert testimony too high, in part because of the Seventh

Amendment right to a jury trial). Yet this happens time and again in

antitrust cases. “[S]ystematic analysis … reveals that antitrust

economists testifying for the plaintiff have approximately a one-in-two


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chance that at least part of their opinion will be excluded—an abnormal

percentage in comparison with other disciplines, including other areas

within economics.” Nicola Giocoli, Rejected! Antitrust Economists as

Expert Witnesses in the Post-Daubert World, 42 J. HISTORY ECON.

THOUGHT 203, 210 (July 2020).

     The overly restrictive evaluation of expert testimony that Google

suggests creates an enormous barrier to private antitrust enforcement

that is perilously close to denying victims of monopolization their

constitutional right to a jury a trial. The questions Google raises about

Dr. Singer’s testimony are, as the district court found, not ones of

admissibility; they are appropriate for cross-examination. (1-ER-22.) To

hold otherwise simply absolves Google of its wrongdoing and enhances

its power over the Relevant Markets, with no end in sight.

III. CONCLUSION

     For the foregoing reasons, the district court’s class certification

ruling should be affirmed.



                 [signature of counsel on following page]




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Dated: August 7, 2023                Respectfully submitted,

                                     s/ Katherine Van Dyck
                                     Katherine Van Dyck
                                     Lee A. Hepner
                                     American Economic Liberties Project
                                     2001 Pennsylvania Avenue NW
                                     Suite 540
                                     Washington, DC 20006
                                     (202) 904-8101
                                     kvandyck@economicliberties.us

                                     Counsel for Amicus Curiae




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                  CERTIFICATE OF COMPLIANCE

     I hereby certify that this is an amicus brief that complies with the

type-volume limitation of Federal Rule of Appellate Procedure 29(a)(5)

because it contains 5,227 words, excluding the parts of the brief exempted

by Federal Rule of Appellate Procedure 32(f). This brief further complies

with the type size and typeface requirements of Federal Rule of Appellate

Procedure 32(a)(5)-(6) because it has been prepared in a proportionally

spaced typeface using Microsoft Word, in 14- point size.


                                     s/ Katherine Van Dyck
                                     Katherine Van Dyck
                                     Counsel for Amicus Curiae


                     CERTIFICATE OF SERVICE

     I hereby certify that on August 7, 2023, the foregoing was

electronically filed with the Clerk of the Court for the United States

Court of Appeals for the Ninth Circuit using the appellate CM/ECF

system. All participants in the case are registered CM/ECF users and will

be served by the system.


                                     s/ Katherine Van Dyck
                                     Katherine Van Dyck
                                     Counsel for Amicus Curiae

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